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                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        EL PASO DIVISION

   In re:                                       §
                                                §       Case No.: 21-30067
   5401 Montoya Dr. El Paso Texas,              §
                                                §       Chapter 11
                                  Debtor.       §       Subch. V
                                                §
   El Paso National Mortgage, LLC,              §
                                                §
                    Movant,                     §
   v.                                           §
                                                §
   5401 Montoya Dr. El Paso Texas,              §
   LLC,                                         §
               Respondent.                      §


             RESPONSE TO EL PASO NATIONAL MORTGAGE, LLC’S
     MOTION FOR RELIEF FROM AUTOMATIC STAY REGARDING REAL ESTATE,
    5401 MONTOYA DRIVE, AND ALTERNATIVELY FOR ADEQUATE PROTECTION,
      WITH WAIVER OF 30-DAY HEARING AND REQUEST FOR EL PASO SETTING

   To the Honorable H. Christopher Mott, United States Bankruptcy Judge:

            Respondent, 5401 MONTOYA DR. EL PASO TEXAS, LLC, by and through its attorney

   Timothy V. Daniel, file this Response to the Motion for Relief from Automatic Stay filed by EL

   PASO NATIONAL MORTGAGE (the “Movant”) on February 9, 2021 and would respectfully

   show:

        1. Debtor admits the allegations of Movant’s numbered paragraph 1.           The Court has

            jurisdiction.

        2. Debtor admits the allegations of paragraph 2. Movant holds holds a first-priority lien on

            the real property.

        3. Debtor admits the allegations of paragraph 3. The petition date is February 1, 2021.




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      4. Debtor denies the allegations of paragraph 4. Debtor has filed schedules, a statement of

         financial affairs and other required documents as of the date of this response.

      5. Debtor denies the allegations of paragraph 5. This case is the first filed by 5401 Montoya

         Dr. El Paso Texas, LLC and was not filed in bad faith. Respondent seeks reorganization.

         In particular, Respondent can resolve its debt to Movant if allowed a reasonable amount of

         time to sell two properties owned by LLCs of which Benjamin J. Giron (“Mr. Giron”) is

         the sole member. The properties are located at 595 Melendres Street and 585 Melendres

         Street.

      6. Debtor admits the allegations of paragraph 6. Mr. Giron filed a Chapter 13 case on August

         29, 2020. Mr. Giron failed to get required paperwork in by the deadline because of a death

         at one of the group homes for which he is responsible, therefore the case was dismissed.

         Mr. Giron states that the circumstances were beyond his control.

      7. Debtor admits the allegations of paragraph 7. Mr. Giron filed a Chapter 13 on November

         2, 2020 in an effort to protect the residential group homes he operates for the elderly.

         Debtor was unable to prevent a lift of the automatic stay as to three properties which he

         either owned as sole proprietor or is the LLC’s sole member. As a result of loss of income,

         he was unable to maintain his Chapter 13 plan and the case was summarily dismissed.

      8. Debtor admits the allegations of paragraph 8. Debtor did file this Chapter 11 case on

         February 1, 2020 but, as of the date of this Response, has filed schedules, statements, and

         other required documents.

      9. Debtor admits the allegations of paragraph 9. Along with this case, Debtor filed a personal

         Chapter 11 seeking a personal reorganization.




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      10. Debtor admits the allegations of paragraph 10. Debtor executed a promissory note to

         Movant guaranteed by Giron on November 18, 2019.

      11. Debtor admits the allegations of paragraph 11. The Note is secured by a Deed of Trust.

      12. Debtor admits the allegations of paragraph 12. Debtor admits that it is in default.

      13. Debtor admits the allegations of paragraph 13. Debtor admits that it remains in possession

         of the property.

      14. Debtor admits the allegations of paragraph 14. Debtor admits that the Note has been

         accelerated.

      15. Debtor denies the allegations of paragraph 15. Debtor is unable to admit or deny the

         amount due had the note not been accelerated and therefore, denies same.

      16. Debtor denies the allegations of paragraph 16. Respondent can make current payments to

         Movant and can resolve its debt to Movant if allowed reasonable time to sell certain

         properties located in Las Cruces, New Mexico. Respondent has kept and maintained the

         5401 Montoya Dr. property in excellent condition and an inspection by Movant may be

         arranged, if desired.

      17. Debtor denies the allegations of paragraph. 17. Debtor denies the allegations of paragraph

         17 except to admit that taxes for the current year have not yet been paid but are not past

         due.

      18. Debtor denies the allegations of paragraph 18. Debtor is carrying homeowner’s insurance

         on the Property through Nationwide Insurance policy #7842HR111238 (See Exhibit “A”).

         The policy is paid through July 31, 2021.




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      19. Debtor denies the allegations of paragraph 19. Debtor seeks reorganization and requests

         that it be given reasonable time to sell certain properties located in Las Cruces, New

         Mexico so that it may resolve its debt to Movant.

      20. Debtor denies the allegations of paragraph 20.

      21. Debtor admits the allegation of paragraph 21 that, according to the El Paso Central

         Appraisal District, the appraised value of the property is $183,327.00. Debtor denies that

         this amount is an accurate current market value of the property. On information and

         believe, this figure is six years old. A Comparable Market Analysis dated February 20,

         2021 (See Exhibit “B”) shows that comparable homes in the area have sold between

         $473,000 and $913,000. Even on the low end, Debtor would have equity. 5401 Montoya

         is a unique property and is difficult to value. However, it is worth much more than the tax

         value and the property has equity.

      22. Debtor denies the allegations of paragraph 22. The property is necessary for an effective

         reorganization. Debtor operates a group home at 5401 Montoya Drive which, after

         downsizing, will be the only group home operated by Mr. Giron and the sole source of his

         livelihood. Successful reorganization is likely if Debtor is allowed reasonable time to sell

         off property in Las Cruces and use proceeds to resolve its debt to Movant.

      23. Debtor admits the allegations of paragraph 23. Movant’s supporting Affidavit is attached

         to Movant’s motion.

      24. Debtor denies the allegations of paragraph 24. Debtor can adequately protect Movant by

         paying the post-petition arrearage and/or curing any other instances of default, if any, by

         mutual agreement of the parties in a manner contemplated by Rule 4001(d).




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      25. Debtor denies the allegations of paragraph 25. Debtor has reason to believe there is equity

          in the Property as indicated in paragraph 21 above. Debtor operates a group home on the

          Property, and the Property is necessary for an effective reorganization.

      26. Debtor is providing adequate protection to Movant in that it will make its current mortgage

          payment each month and has a plan to remedy its remaining debt to Movant.

      WHEREFORE, PREMISES CONSIDERED, Respondent respectfully prays that Movant’s

   Motion for Relief from Automatic Stay be denied to the extent set forth above, and for such other

   and further relief as the Court may deem just and appropriate.

                                                       Respectfully submitted,

                                                       Timothy V. Daniel, P.C.

                                                       /s/Timothy V. Daniel
                                                       Timothy V. Daniel
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                                                       603 Mississippi Dr.
                                                       El Paso, Texas 79902
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                                   CERTIFICATE OF SERVICE

           I, the undersigned, do hereby certify that on February 22, 2021, I caused a true and exact
   copy of the foregoing, which was filed with the Clerk of the Court, to be served either via CM/ECF
   to those so authorized or via United States Mail to the following parties:

    Robert R. Feuille               El Paso National Mortgage        United States Trustee-Ep12
    ScottHulse                      c/o William Ehrlich              U.S. Trustee’s Office
    One San Jacinto Plaza           444 Executive Center Blvd.       615 E. Houston, Ste 533
    201 E. Main Dr., Ste 1100       Ste 240                          P.O. Box 1539
    P.O. Box 99123                  El Paso, TX 79902-1039           San Antonio, TX 78295-1539
    El Paso, TX 79999-9123

    Donald P. Stecker
    Linebarger Googan Blair &
    Sampson, LLP
    112 E. Pecan St., Ste 2200
    San Antionio, TX 78205
                                    /s/ Timothy V. Daniel
                                    Timothy V. Daniel




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